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IN THE UNITED STATES DISTRICT COURT(A) w l
FOR THE WESTERN DISTRICT OF TENNESSEE /”/ g
EASTERN DIVISION 1

 

DEMUS RICH and wife,

MELBA RICH, individually and as
Executors of the Estate of

GARY BRIAN RICH, deceased,

Plaintiffs,

Vs. N0.1-02 222-T
JURY EMANDED

CITY OF SAVANNAH, TENNESSEE, et al.

Defendants.

 

PLAINTIFFS’ REQUEST FOR ORAL ARGUMENT l) MOTION TO DISMISS
OR FOR SUMMARY .TUDGMENT FILED BY DEFE ANTS CITY OF SAVANNAH
AND OFFICERS SUED IN THE OFFICIAL CAPA Y; 2) MOTION FOR SUMMARY
IUDGMENT FILED BY DEFENDANT DONALD RR; AND 3) MOTION FOR
PARTIAL SUMMARY JUDGMENT F ED BY INDIVIDUAL OFFICERS

 

COME NOW the Plaintiffs, b nd through their attorney of record and pursuant to Local

t oral argument on the l) Motion to Dismiss Or for Summary
Judgment Filed by D endants City of Savannah And Offlcers Sued in the Ofiicial Capacity; 2)
ary Judgment Filed by Defendant Donald Derr; and 3) Motion for Partial

Motion for Su

Summary J dgment Filed by Individual Officers and in support thereof would respectfully state

as follo s:

1. On April 15, 2005, the City of Savannah and the officers sued in their official

    

ca _' ity filed a `Motion to Disrniss or for Surnmary Judgment which contains over 171 Separate
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2. On April 15, 2005, Defendants Donald Derr filed a Motion for Summary
Judgrnent which incorporates by reference the statement of material facts filed by Defendant
City of Savannah and contains an additional 72 material facts.

3. On April 15, 2005, the Individual Defendants filed a Motion for Summary
Judgment which incorporates by reference the statement of` material facts filed by Defendant
City of Savannah and contains an additional 20 material facts.

4. In response to these Motions, the Plaintiffs filed the following: l) Plaintiffs’
Response to Statement of Material Facts submitted by Defendants City of Savannah and the
lndividual Defendants Sued in their Official Capacity; 2) Plaintiffs’ Response to Motion for
Summary Judgment filed by Defendants City of Savannah and the Individual Defendants Sued in
their Official Capacity; 3) Plaintiff`s’ Response to Statement of Material Facts Submitted by
Defendants Donald Derr; 4) Plaintiffs’ Response to Motion for Summary Judgrnent of
Defendants Donald Derr; 5) Plaintiffs Response to Motion for Partial Summary Judgment filed
by Defendants Kelly, Phelps, Hosea, Cherry, Snelling, Barker and Sylvester; 6) Plaintiffs’
Statement of Additional Material Facts to be Considered in Ruling on Motions to Dismiss, for
Partial Summary Judgment and for Summary Judgment filed by All Defendants; and 7)
Plaintiffs’ Notice of Filing of Docurnents and Things in Opposition to All Motions to Disrniss,
Motions for Partial Summary Judgment and Motions for Summary Judgment filed by
Defendants.

5. As can be seen by the documents listed herein, the Summary judgment record in
this matter is voluminous Plaintiffs submit that oral argument will substantially assist this

Honorable Court in ruling on Said motions

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WHEREFORE, PREMISES CONSIDERED, the Plaintiffs respectfully request that this

I-Ionorable Court Schedule for oral argument the following motions: 1) Motion to Dismiss Or for

Summary Judgment Filed by Defendants City of Savannah And Officers Sued in the Official

Capacity; 2) Motion for Summary Judgment Filed by Defendant Donald Derr; and 3) Motion for

Partial Summary Judgment Filed by lndividual Officers and for all such further relief, both

general and specifie, to which they may be entitled under the premises

Respectfully submitted,

ijEY, CLARKE & BENFIELD

`d?*f€rew c. clarke (# 15409)
256 Poplar Avenue

Mernphis, Tennessee 381 19
(901) 680-9777

CERTIFICATE OF SERVICE

I, Andrew C. Clarke, do hereby certify that a true and correct copy of the foregoing
document has been served upon the following via U.S. Mail, postage prepaid:

James A. Hopper

40 West Main Street

Post Office Box 220
Savannah, Tennessee 38372

Fred Collins
Post Of`fice Box 679

Milan, Tennessee 38358-0679

This the ‘h day of

John C. Duffy

Plaza Tower, Suite 1700
Post Office Box 131
Knoxville, Tennessee 37901

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UNITED `sATTES DISTRIC CoUR - WESTERN D'ST'CT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
case 1:02-CV-01222 was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

Andrew C. Clarke
BAILEY & CLARKE
6256 Poplar Avenue
1\/1emphis7 TN 38119

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson, TN 38302--114

J ames A. Hopper
HOPPER & PLUNK
P.O. Box 220
Savannah, TN 38372

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/1i1an7 TN 38358

John C. Duffy

WATSON & HOLLOW
P.O. Box 131

KnoX\/ille7 TN 37901--013

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

1\/1i1an7 TN 38358

Honorable J ames Todd
US DISTRICT COURT

